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  +                 Gavin Mccines
  Hello?
                                                12/19/2020 3:41:01 PM(UTC-5)


Source Info:
Universal_iOS Generic.zip/rooVprivate/var/mobile/Containers/Shared/AppGroup/FABCA04C­
D889-47F1-BE4D-D65FFCE69D55/grdb/signal.sqlite/signal.sqlite.decrypted: 0x14D913B
(Table: model_TSlnteraction, model_OWSOserProfile; Size: 23519232 bytes)




  +                 Gavin Mccines
  What's with Mobb7 selling that fucking shirt?
                                                      12/19/2020 3:41:13 PM(UTC-5)


Source Info:
Universal_iOS Generic.zip/rooVprivate/var/mobile/Containers/Shared/AppGroup/FABCA04C-DB89-
47F1-BE4D-D65FFCE69D55/grdb/signal.sqlite/signal.sqlite.decrypted: Oxl4CCE40 (Table:
model_TSlnteraction, model_OWSUserProfile; Size: 23519232 bytes)




                                                                         Enrique (owner)
                                                      He's not selling it.
                                                      He made some shirts for his chapter and they got smoked for it awhile ago. Some nerd
                                                      decided to wear it.
                                                       I'm going with the Marine "6 man weapon and Equipment" thing
                                                                                                                                                       12/19/2020 5:20:50 PM(UTC-5)


                                                    Source Info:
                                                    Universal_iOS Generic.zip/rooVprivate/var/mobile/Containers/Shared/�pGroup/FABCA04C-D889-47F1-BE4D­
                                                    D65FFCE69D55/grdb/signal.sqhte/signal.sqlite.decrypted: 0x150924A (Table: model_TSlnteraction, model_OWSUseri>rofile; Size: 23519232 bytes)




                                                                                                   Source Info:
                                                                                                   Universal_iOS Generic.zip/rooVprivate/var/mobile/Containers/Shared/AppGroup/FABCA04C­
                                                                                                   D889-47F1-BE4D-D65FFCE69D55/grdb/signal.sqlite/signal.sglite.decrypted: Ox 15204BE (Table:
                                                                                                   model_TSlnteraction, model_OWS0serProfile; Size: 23519232 bvtes)
                                                                                                   Universal_iOS Generic.zip/rooVprivate/var/mobile/Containers/Shared/AppGroup/FABCA04C­
                                                                                                   D889-47F1-BE4D-D65FFCE69D55/Attachments/4E4759FC-8B38-4754-87A5-
                                                                                                   394EA60CE4D2/signal-2020-12-19-172058Jpeg: (Size: 118377 bytes)
                          Case 1:21-cr-00175-TJK Document 856-8 Filed 08/17/23 Page 2 of 2
               Gavin Mccines
  Fucking retard
                                                   12/19/2020 6:04:14 PM(UTC-5)

Source Info:
Universal_iOS Generic.zip/rooVprivate/var/mobile/Containers/Shared/AppGroup/FABCA04C­
D889-47F1-BE4D-D65FFCE69D55/grdb/signal.sqlite/signal.sqlite.decrypted : Ox154D532
(Table: model_TSlnteraction, model_OWSOserProfile; Size: 23519232 bytes)




               Gavin Mccines
  Is he booted? The guy who wore the shirt? This story is catching wind.
                                                                               12/21/2020 2:12:05 PM(UTC-5)

Source Info:
Universal_iOS Generic.zip/rooVprivate/var/mobile/Containers/Shared/�pGroup/FABCA04C-DB89-47F1-BE4D­
D65FFCE69D55/grdb/signal.sqhte/signal.sqlite.decrypted : Ox 157827D (Table: model_TSlnteraction, model_OWSUserProfile;
Size: 23519232 bytes)




                     Gavin Mccines
  I'd like to fucking strangle him
                                                   12/21/2020 2:12:34 PM(UTC-5)

Source Info:
Universal_iOS Generic.zip/rooVprivate/var/mobile/Containers/Shared/AppGroup/FABCA04C­
D889-47F1-BE4D-D65FFCE69D55/grdb/signal.sqlite/signal.sglite.decrypted : Ox15780AB (Table:
model_TSlnteraction, model_OWSOserProfile; Size: 23519232 bytes)




                     Gavin Mccines
  Are there any more rallies planned? There shouldn't be.
                                                                   12/22/2020 7:19:43 AM(UTC-5)

Source Info:
Universal_iOS Generic.zip/rooVprivate/var/mobile/Containers/Shared/�pGroup/FABCA04C-D889-47F1-BE4D­
D65FFCE69D55/grdb/signal.sqhte/signal.sqlite.decrypted : Ox14BE18C (Table: model_TSlnteraction,
model_OWSUserl'rofile; Size: 23519232 bytes)




                                                                                                                      Enrique (owner)
                                                                                                         Negative. As of now we're lying low
                                                                                                                                                         12/22/2020 7:45:19 PM(UTC-5)

                                                                                                      Source Info:
                                                                                                      Universal_iOS Generic.zip/rooVprivate/var/mobile/Containers/Shared/AppGroup/FABCA04C­
                                                                                                      D889-47F1-BE4D-D65FFC E69D55/grdb/signal.sqlite/signal.sglite.decrypted : Ox 13D62EF (Table:
                                                                                                      model_TSlnteraction, model_OWSOserProfile; Size: 23519232 bytes)




                     Gavin Mccines
  Thank God.
                                                   12/22/2020 7:48:27 PM(UTC-5)

Source Info:
Universal_iOS Generic.zip/rooVprivate/var/mobile/Containers/Shared/AppGroup/FABCA04C­
D889-47F1-BE4D-D65FFCE69D55/grdb/signal.sqlite/signal.sglite.decrypted : Ox150FE65 (Table:
model_TSlnteraction, model_OWSOserProfile; Size: 23519232 bytes)
